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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA

RICHARD BERNARD MOORE, Civil Action No.: 3:24-cv-05580-MGL

Plaintiff,
v. DECLARATION OF

GOVERNOR HENRY D. MCMASTER
HENRY D. MCMASTER, in his personal capacity

and in his official capacity as Governor of
South Carolina,

Defendant.

I, Henry D. McMaster, being over the age of eighteen (18) and of sound mind and
competent to give this Declaration, hereby declare and state as follows:

1. The Court has indicated that it would welcome an affirmation by me, as Governor,
relating to various aspects of review and consideration by my office of applications, petitions, and
requests for executive clemency in capital cases.

2. Understanding that executive clemency is purely a matter of mercy and grace
within the exclusive authority and solemn discretion bestowed upon the Governor alone by article
IV, section 14 of the South Carolina Constitution and not subject to judicial review, I voluntarily
submit the following.

3. The Oath of Office of the Governor of South Carolina requires that “I do solemnly
swear... that I will, to the best of my ability, discharge the duties thereof, and preserve, protect,
and defend the Constitution of this State and of the United States. So help me God.” S.C. Const.
art. VI, § 5. I have taken this Oath three times.

4, As Governor, it is and has been my firm intention and commitment to fulfill these
obligations in all official matters and circumstances before me, including those involving capital
punishment and executive clemency.

5. In such matters, it is and has been my intention and commitment to take care to
understand the issues presented, including those from my review and consideration of applications,
petitions, and requests for clemency presented to me by or on behalf of a condemned inmate in
advance of an execution date established by the Supreme Court of South Carolina in accordance
with section 17-25-370 of the South Carolina Code of Laws.

Under 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.
This 17th day of October, 2024. Whiz Ee

Henry Dargan McMaster

